                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION


UNITED STATES OF AMERICA                        )
                                                )
v.                                              )           NO. 3:13-00097-10
                                                )           JUDGE SHARP
PHILLIP WAYNE ALLEN                             )


                                           ORDER

       The Motion to Withdraw as Attorney and for Appointment of New Counsel (Docket No.

432) filed by Defendant’s Counsel is hereby set for a hearing on Wednesday, March 5, 2014, at 1:30

p.m.

       It is so ORDERED.




                                             KEVIN H. SHARP
                                             UNITED STATES DISTRICT JUDGE




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